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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


LARRY T. HOOKS,

              Movant,                                   No. 1:07-CR-213-04

v.
                                                        Hon. Paul L. Maloney
UNITED STATES OF AMERICA,                               Chief United States District Judge

              Respondent.
                                          /


                                  [PROPOSED] ORDER

       The Government’s Unopposed Motion seeking leave of the Court to accept “out of time”

the Government’s Response In Support of Movant’s Motion For Relief pursuant to 28 U.S.C §

2255 (Record No. 316) is hereby GRANTED.

       SO ORDERED.




        February 12, 2010
Dated: __________________________          /s/ Paul L. Maloney
                                          ___________________________________
                                          Hon. PAUL L. MALONEY
                                          Chief United States District Judge
